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8                                  UNITED STATES DISTRICT COURT
9                                EASTERN DISTRICT OF CALIFORNIA
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11   TROY M. LINDELL, ON BEHALF OF    )               Case No.: 1:11-cv-02053-LJO-BAM
     HIMSELF AND ALL OTHERS SIMILARLY )
12   SITUATED,                        )               ORDER ADOPTING FINDINGS AND
                                      )               RECOMMENDATIONS REGARDING (1)
13                                    )               PLAINTIFF’S MOTION FOR FINAL APPROVAL
                Plaintiff,
14                                    )               OF CLASS ACTION SETTLEMENT AND (2)
           v.                         )               MOTION FOR ATTORNEYS’ FEES & COSTS
15                                    )               AND CLASS REPRESENTATIVE SERVICE
     SYNTHES USA, SYNTHES USA SALES   )               AWARD
16   LLC, SYNTHES SPINE COMPANY LP ,  )
                                      )               (Doc. 270)
17                                    )
                Defendants.           )
18                                    )
19
20          On December 20, 2016, the magistrate judge assigned to this action issued Findings and
21   Recommendations recommending that Plaintiff’s motion for final approval of class action settlement
22   and Plaintiff’s motion for attorneys’ fees, costs and expenses, and class representative service award
23   be granted in full. (Doc. 270). The Findings and Recommendations contained notice that any
24   objections were to be filed within fourteen (14) days. On December 23, 2016, the parties filed a joint
25   notice of non-opposition to the Findings and Recommendations. (Doc. 271). No objections were filed.
26          In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C), this Court has conducted a de
27   novo review of this case. Having carefully reviewed the entire file, the Court finds the Findings and
28   Recommendations to be supported by the record and by proper analysis.


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1            Accordingly, IT IS HEREBY ORDERED that:

2            1.     The Findings and Recommendations dated December 20, 2016, are ADOPTED IN

3    FULL;

4            2.     Plaintiff’s Motion for Final Approval of the Class Action Settlement is GRANTED;

5            3.     The terms of the proposed Settlement Agreement are found to be fair, adequate and

6    reasonable and comply with Rule 23(e) of the Federal Rules of Civil Procedure;

7            4.     Plaintiff’s request for certification of the Settlement Class is GRANTED, and the

8    classes are defined as:

9                   a. An “Expense Class” of all former and current sales consultants who were employed

10                      by Synthes in California from four years prior to the filing of this action (December

11                      13, 2007) to July 14, 2016, and who were subject to the following “straight

12                      commission” compensation policies:

13                             i. The policy that sales consultants from the Trauma and Spine Sales Divisions

14                                who receive “straight commission” “are not eligible for an automobile

15                                allowance or in-territory business expense reimbursement”; and

16                             ii. The policy that sales consultants from the CMF Sales Division receive “a

17                                predetermined base salary of $30,000, plus a higher level of commission

18                                with no expenses;” and

19                  b. A “Deductions Class” of all former and current Sales Consultants who were

20                      employed by Synthes in California from four years prior to the filing of this action

21                      (December 13, 2007) to July 14, 2016, who at some time during Synthes’ employ

22                      had a deduction assessed against them. For purposes of the settlement, the above-

23                      defined settlement class is found to meet all of the requirements of Rule 23(a) and

24                      23(b)(2).

25           5.     The notice provided to the settlement class members, as well as the means by which it

26   was provided, constitutes the best notice practicable under the circumstances and is in full compliance

27   with the United States Constitution and the requirements of Due Process and Rule 23 of the Federal

28   Rules of Civil Procedure. Further, such notice fully and accurately informed settlement class members


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1    of all material elements of the lawsuit and proposed class action settlement, and each member’s right

2    and opportunity to object to the proposed class action settlement;

3           6.      Plaintiff Troy Lindell is appointed as a suitable representative for the Settlement Class;

4           7.      Todd Jackson, Catha Worthman, and Darin Ranahan at Feinberg, Jackson, Worthman

5    & Wasow LLP, and Charles Trudrung Taylor and Ana de Alba at Lang, Richert & Patch are appointed

6    as counsel for the Settlement Class;

7           8.      The settlement of civil penalties under PAGA in the amount of $50,000 is approved,

8    with seventy-five percent (75%), or $37,500, paid to the California Labor and Workforce

9    Development Agency.

10          9.      Claims administration expenses in an amount not to exceed $20,000 are approved for

11   payment to Settlement Services, Inc. (“SSI”);

12          10.     Defendants are ordered to pay Class Members pursuant to the procedure described in

13   the Settlement Agreement;

14          11.     Plaintiff’s motion for attorneys’ fees, costs and expenses, and class representative

15   service award is GRANTED as follows:

16          a.      Reasonable attorneys’ fees in the amount of $1,500,000.00 and costs not to exceed

17                  $185,000 are awarded to class counsel; and

18          b.      A service award of $10,000 is awarded to Troy Lindell consistent with the terms of the

19                  Settlement Agreement; and

20          12.     This action is DISMISSED and JUDGMENT shall be entered in accordance with the

21   terms of the agreement; however, the Court shall retain continuing jurisdiction to interpret, implement

22   and enforce the settlement, and all orders and judgment entered in connection therewith.

23
24   IT IS SO ORDERED.

25      Dated:     January 6, 2017                           /s/ Lawrence J. O’Neill _____
26                                                 UNITED STATES CHIEF DISTRICT JUDGE

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